Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 1 of 19




                 Exhibit 2
          Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 2 of 19

                                                                                                                              US008537242B2


(12) United States Patent                                                                            (10) Patent No.:                            US 8,537,242 B2
       Suska                                                                                         (45) Date of Patent:                                 *Sep. 17, 2013
(54)   HOST INTERFACE FOR MAGING ARRAYS                                                     (56)                                   References Cited

(75) Inventor: Mark Suska, Ottawa (CA)                                                                              U.S. PATENT DOCUMENTS
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(73) Assignee: Harusaki Technologies, LLC,                                                                5,581,280 A * 12/1996 Reinert et al. ................ 345/558
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(*) Notice:        Subject to any disclaimer, the term of this                                                   FOREIGN PATENT DOCUMENTS
                   patent is extended or adjusted under 35                                  EP                         O932. 302 A2             7, 1999
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                   claimer.                                                                                               OTHER PUBLICATIONS
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(22) Filed:        Oct. 27, 2005                                                            p. 6-14, tables 9-11, figures 1-4, 6,10,12.
(65)                  Prior Publication Data                                                                      (Continued)
       US 2006/0044435 A1          Mar. 2, 2006                                             Primary Examiner — Trung Diep
                                                                                            (74) Attorney, Agent, or Firm — McAndrews, Held &
                                                                                            Malloy, Ltd.
            Related U.S. Application Data                                                   (57)                                         ABSTRACT
(62) Division of application No. 09/742,723, filed on Dec.                                  An interface for receiving data from an image sensor having
       21, 2000, now Pat. No. 6,972,790.                                                    an imaging array and a clock generator and for transferring
(60) Provisional application No. 60/177,496, filed on Jan.                                  the data to a processor system is described. The interface
       21, 2000.                                                                            comprises a memory for storing the imaging array data and
                                                                                            the clocking signals at a rate determined by the clocking
(51)   Int. C.                                                                              signals. In response to the quantity of data in the memory, a
       H04N 5/76               (2006.01)                                                    signal generator generates a signal for transmission to the
       H04N 5/228              (2006.01)                                                    processor System and a circuit controls the transfer of the data
       H04N 5/235              (2006.01)                                                    from the memory at a rate determined by the processor sys
(52)   U.S. C.                                                                              tem. The memory may be a first-in first-out (FIFO) buffer or
       USPC ................... 348/231.1; 348/222.1; 348/230.1
                                                                                            an addressable memory. The interface is preferably integrated
                                                                                            on the same die as the image sensor. The signal generator may
(58)   Field of Classification Search                                                       generate either an interrupt signal for transmission to the
       USPC ................. 348/241, 294,302,307, 308, 311,                               processor system or a bus request signal for transmission to a
                    348/207.1, 333.05, 222.1, 231.3, 231.99,                                bus arbitration unit for the processor System.
                                     348/312,317, 203, 246
       See application file for complete search history.                                                              23 Claims, 8 Drawing Sheets

                                                       12-                                           73
                                                                                                     44
                                                   21                                  C.
                                                                      D,                                                           D
                                                   MAGNG                                           FIFO UFFER                       s
                                                   ARRAY              38                                              Nis
                                                  As          A.
                                       C                              C                               64-        55
                                        m          ARRAY                                                  BUS REQUEST |       \s
                                            B      ADDRESS            C.                READ                 55
                                            B.
                                            ---
                                                   GENERATOR                            CONTROL
                                                            V,
                                            ?          US                  O                         CONFIGURATION
                                                   COMMAND                     UTPUT                 RGISTERS                      Her
                                      Sw           UNIT                   ADRESS                                          V   s
                                                  -                        UNT                                   4s
                                                             47
                                                 45

                                                                                               s
                                                            COMMAND                                   ARRAY
                                                            DECODER                         Be        REGISTERS               is
                                                                               58
                                                                                                                 49
             Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 3 of 19


                                                                                     US 8,537,242 B2
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    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 4 of 19


U.S. Patent          Sep. 17, 2013        Sheet 1 of 8     US 8,537,242 B2




                                1O
                                                 CPU




                       16

                                           17


    C.        MAGING                                     OTHER
            ARRAY           NTERFACE                     MEMORY
                                                   15    COMPONENTS
                12                   13
                                                           11


    VIDEO              14
    CLOCK
    GENERATOR


                              FIGURE 1
    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 5 of 19


U.S. Patent          Sep. 17, 2013    Sheet 2 of 8             US 8,537,242 B2




          12-                                 13

         21

         MAGNG
         ARRAY



         ARRAY                                                     17
                                     FFO             NTERRUPT           S.
         ADDRESS                     READ
                                                     GENERATOR
         GENERATOR                   CONTROL



                                              FIFO
                                              CONFIGURATION
                45                            REGISTERS



    16
              COMMAND
              DECODER                              ARRAY
                                                   REGISTERS




                             FIGURE 2
        Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 6 of 19


U.S. Patent             Sep. 17, 2013       Sheet 3 of 8            US 8,537,242 B2




                21                             A.
                                 37

   D.                            COLUMNAMPLIFERS,
                                 GAIN AMPLIFERS,
                                 COLUMNSELECTORS




           ROW                          r
                         E.
           DECODERS
           AND ROW
            NE
            DRIVERS               . . as -
                   35                | 32
                                                           ARRAY OF PXELS




                                  FIGURE 3
    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 7 of 19


U.S. Patent       Sep. 17, 2013        Sheet 4 of 8    US 8,537,242 B2




              22 N
                                  42

                                                                As
                                       ROW




                                                                C
                        C
                41

   C.                 COLUMN                                    A.
                      COUNTER


   B




                            FIGURE 4
    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 8 of 19


U.S. Patent       Sep. 17, 2013    Sheet 5 of 8        US 8,537,242 B2




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    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 9 of 19


U.S. Patent        Sep. 17, 2013             Sheet 6 of 8     US 8,537,242 B2




                                                                    63



         ARBITRATION                                           1O
         UNIT




                                   16                               A




     C        MAGING                                        OTHER
              ARRAY         INTERFACE                       MEMORY
                                                       15   COMPONENTS
                  12                    73
                                                              11


     VIDEO             14
     CLOCK
     GENERATOR


                             FIGURE 6
    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 10 of 19


U.S. Patent              Sep. 17, 2013            Sheet 7 of 8               US 8,537,242 B2




                12                                          73
                     N
                                                            44
           21                                    C.
                                D.           -                                           D
           IMAGNG                                         FIFO BUFFER


                                                                        55
           ARRAY                                  FFO
                                                                 BUS REQUEST
           ADDRESS                                READ
           GENERATOR
                                                                 GENERATOR
                                                  CONTROL



                                                            FIFO
                                                            CONFIGURATION
                                                            REGISTERS
                                                                                    15
                                                                        46




                                             7        B
                     COMMAND             5               H ARRAY
                     DECODER                           Bc REGISTERS




                                     FIGURE 7
    Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 11 of 19


U.S. Patent        Sep. 17, 2013   Sheet 8 of 8               US 8,537,242 B2




            12                              83




                                        ADDRESSABLE
          MAGNG
                                        MEMORY
          ARRAY




          ARRAY                    MEMORY
                                                    INTERRUPT
          ADDRESS                  READ
                                                    GENERATOR
          GENERATOR                CONTROL



                                            MEMORY
                                            CONFIGURATION
                                            REGISTERS
                                                                     15




                 COMMAND
                 DECODER                          ARRAY
                                                  REGISTERS
                                                                     15
                              58
                                                         49




                            FIGURE 8
         Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 12 of 19


                                                      US 8,537,242 B2
                               1.                                                                      2
     HOST INTERFACE FOR MAGING ARRAYS                                   generator, and for transferring the data to a processor System.
                                                                        The interface comprises a memory for storing the imaging
  This application is a divisional of U.S. application Ser. No.         array data and the clocking signals at a rate determined by the
09/742,723, filed Dec. 21, 2000, now U.S. Pat. No. 6,972,790,           clocking signals. In response to the quantity of data in the
which claims the benefit of U.S. Provisional Application No.            memory, a signal generator generates a signal for transmis
60/177,496, filed Jan. 21, 2000.                                        sion to the processor System and a circuit controls the transfer
               FIELD OF THE INVENTION                                   of the data from the memory at a rate determined by the
                                                                        processor System. The memory may be a first-in first-out
  The invention relates generally to integrated electronic              (FIFO) buffer or an addressable memory.
image sensing circuitry and more particularly to CMOS              10      The signal generator may generate an interrupt signal for
imaging circuitry.                                                      transmission to the processor system or a bus request signal
                                                                        for transmission to a bus arbitration unit for the processor
          BACKGROUND OF THE INVENTION                                   system. The circuit for controlling the transfer of the data may
                                                                        include a command decoder for receiving address and com
   Integrated circuit (IC) technology, applied to imaging, is      15   mand signals from the processor system, a configuration reg
revolutionizing that field. Semiconductors can be used to               ister for storing configuration data for the FIFO buffer and a
represent an image as an electrical signal. Charge coupled              read control for controlling the read-out of the FIFO buffer,
devices (CCDs) are the most significant commercial IC tech              and may further include a bus command unit for receiving
nology to date. However, when compared with CMOS tech                   control of the system bus and providing an address for the data
nology, there are many advantages to producing CMOS                     read-out from the memory.
image devices.                                                             In accordance with another aspect of this invention, an
   CMOS is a less expensive technology; CMOS employs                    integrated semiconductor imaging circuit for use with an
fewer mask layers and is a more mature fabrication technol              electronic processing system having a data bus comprises an
ogy with greater commercial Volume. CCD technology com                  imaging array sensor having an array of sensing pixels and an
plexity causes lower fabrication yield. One of the main ben        25   array address generator integrated on a die and an interface
efits of employing CMOS technology, compared to CCD, is                 integrated on the same die. The interface is adapted to receive
the ability to include image-processing elements on the same            data from the imaging array sensor as determined by the
Substrate as the imaging circuitry.                                     imaging array and to transfer the data to the electronic pro
  On a monolithic semiconductor IC, with a surface coinci               cessing system as determined by the electronic processing
dent to an optical focal plane, photosensitive elements are        30   system. The interface may include a memory such as a FIFO
employed in pixels that are arranged in an array of rows and
columns. The basis for the pixels of CMOS technology is a               buffer or an addressable memory for storing imaging array
photosensitive diode. In an active pixel arrangement each               data and address signals at a rate determined by the imaging
pixel photodiode is buffered from the shared readout compo              array sensor, and a circuit for controlling the transfer of the
nents by an amplification stage.                                        data from the memory means to the data bus at a rate deter
   IC image sensors of existing technologies provide video         35   mined by the electronic processing system. The imaging cir
style output. In one example, such a sensor receives master             cuit may further include a bus arbitration circuit integrated on
clock input. The sensor derives data sample, line, and clocks           the same die and coupled to the circuit for controlling the
from this master clock. These clocks, which correspond to               transfer of the data.
pixel, row, and column, control the sampling rate of the imag              In accordance with a further aspect of this invention, an
ing array. The pixel data of Such a sensor is output at the same   40   integrated semiconductor imaging circuit for use with an
rate as it is sampled. The derived clocks are output as well to         electronic processing system having a data bus may comprise
synchronize the data output. The result is a stream of synchro          an imaging array of sensing pixels, a buffer for storing data
nized pixel intensities comprising a video frame.                       received at an input port and for outputting data through an
   This output is incompatible with the data interface of com           output port to the data bus, a circuit for transferring data from
mercial microprocessors, without the use of additional glue        45   a selected pixel to the buffer input port, a circuit for determin
logic. A commercial microprocessor data interface consists of           ing the quantity of data in the buffer, a circuit for alerting the
address and control output signals and data input/output sig            electronic processing system when the quantity of data in the
nals. This configuration allows the processor to randomly               buffer attains a predetermined level and a controller adapted
access any word of data in memory by asserting various                  to respond to the electronic processing system for controlling
addresses.
   In an image acquiring computer system based on Such a           50   the transfer of the stored data through the buffer output port.
sensor and Such a processor, additional interface circuitry to             In accordance with another aspect of this invention, an
respond to the sensor clock outputs to sample the video infor           integrated semiconductor imaging circuit for use with an
mation, and to make this video data available in the memory             electronic processing system having a data bus and a system
space of the processor. Optionally, this interface circuit may          address/control bus, may comprise an imaging array of sens
include interrupt signals to the processor, and enough             55   ing pixels, a buffer for storing data received at an input port
memory space for a number of pixels.                                    and for outputting data through an output port to the data bus,
   Such additional circuitry diminishes the benefit of a single         a circuit for transferring data from a selected pixel to the
Substrate that integrates sensor and processing elements. The           buffer input port, a circuit for determining the quantity of data
CMOS technology optimum cost benefit is not reached.                    in the buffer, a controller for seeking control of the data bus
   Therefore, there is a need for an interface which may be        60   when the quantity of data in the buffer attains a predetermined
integrated with the imaging array which a system processor              leveland adapted to respond to the availability of the data bus
can access to directly receive imaging data.                            for controlling the transfer of the stored data through the
                                                                        buffer output port. The integrated semiconductor imaging
             SUMMARY OF THE INVENTION                                   circuit may further include a bus arbitration unit for receiving
                                                                   65   data bus control requests and for providing data bus control in
  This invention is directed to an interface for receiving data         response to a request, and the controller for receiving bus
from an image sensor having an imaging array and a clock                control comprising a register for storing and incrementing
          Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 13 of 19


                                                      US 8,537,242 B2
                               3                                                                        4
destination addresses, and a circuit for asserting the destina           and system components 11, an imaging array sensor 12, an
tion address and write controls on the system address/control            interface 13 in accordance with the present invention and a
bus.                                                                     video clock generator 14. The CPU 10, components 11 and
   In accordance with a further aspect of this invention, an             interface 13 all have access to a system data bus 15 and are
integrated semiconductor imaging circuit for use with an                 controlled by the CPU 11 via the system control and address
electronic processing system having a data bus, may com                  bus 16. The clock generator 14 provides pixel clock signals
prise an imaging array of sensing pixels, an addressable                 C. to the imaging array sensor 12. The interface 13 is further
memory having a plurality of memory cells arranged in rows               connected to the CPU 10 through an interrupt bus 17 by which
and columns for storing data received at an input port and for           the CPU 10 is signalled that data is available for it to upload.
outputting data throughan output port to the data bus, a circuit    10      In accordance with the present invention, the interface 13
for transferring data from a selected pixel to a selected                stores data and clocking signals from the imaging array sen
memory cell through the memory input port, a circuit for
determining the quantity of data in the memory, a circuit for            sor 12 in order to free up the CPU 10 for other processing. In
alerting the electronic processing system when the quantity of           addition, the full economic and commercial advantage of
data in the memory attains a predetermined level, and a con              CMOS technology may begained by integrating the interface
troller adapted to respond to the electronic processing system      15   13 on the same die as the imaging array sensor 12.
for controlling the transfer of the stored data through the                An embodiment of the interface 13 is illustrated as a block
memory output port.                                                      diagram in FIG. 2. The imaging array sensor 12 includes an
   In accordance with another aspect of this invention, an               imaging array 21 which is an array of active photosensitive
integrated semiconductor imaging circuit for use with an                 pixels with access control as will be described further with
electronic processing system having a data bus and a system              reference to FIG. 3. The imaging array 21 further includes an
address/control bus, may comprise an imaging array of sens               array address generator 22 which generates the column
ing pixels, an addressable memory having a plurality of                  addresses A, the row addresses A, the row clock C and the
memory cells arranged in rows and columns for storing data               frame clock C as will be described further with reference to
received at an input port and for outputting data through an             FIG. 4.
output port to the data bus, a circuit for transferring data from   25      Referring to FIG. 3, the array 30 of pixels 33 is organized
a selected pixel to a selected memory cell through the                   in rows 31 and columns 32. Each pixel 33 is located at the
memory input port, a circuit for determining the quantity of             intersection of a row 31 and a column 32. The row control
data in the memory, and a controller for seeking control of the          lines 34 provide access to a row 31 of pixels 33. The row line
data bus when the quantity of data in the memory attains a               34 is driven by the row drivers 35 in response to the row
predetermined level and adapted to respond to the availability      30   address signal A. Each selected pixel 33 asserts data onto its
of the data bus for controlling the transfer of the stored data          own column data line 36 when accessed. The data onlines 36
through the memory output port. The integrated semiconduc
tor imaging circuit may further include a bus arbitration unit           is amplified by column amplifiers and second stage amplifi
for receiving data bus control requests and for providing data           cation in unit 37. Unit 37 further selects the column 32 as
bus control in response to a request, and the controller for             determined by column address A, from which array data D,
receiving bus control comprising a register for storing and         35   is placed on the array output 38.
incrementing destination addresses, and a circuit for asserting             Referring to FIG. 4, the array address generator 22 is
the destination address and write controls on the system                 shown in greater detail. The column address A is generated
address/control bus.                                                     by a column counter 41 which is incremented by the video
   Other aspects and advantages of the invention, as well as             system clock C. The maximum number of sequential
the structure and operation of various embodiments of the           40   addresses generated by the column counter 41 will depend on
invention, will become apparent to those ordinarily skilled in           the number of columns in the imaging array 21, however the
the art upon review of the following description of the inven            actual number of sequential addresses generated by the col
tion in conjunction with the accompanying drawings.                      umn counter 41 will be determined by the column boundary
       BRIEF DESCRIPTION OF THE DRAWINGS
                                                                         signal B, which is controlled by the CPU 10 as will be
                                                                    45   described later. The row clock C is generated by the overflow
  The invention will be described with reference to the                  of the column counter 41. The row counter 42 generates the
accompanying drawings, wherein:                                          row address signal A based on the row clock signal C and
   FIG. 1 is a block diagram of a computer system utilizing              the row boundary signal B. The maximum number of
the imaging array sensor,                                                sequential addresses generated by the row counter 42 will
   FIG. 2 is a block diagram of an imaging array sensor             50   depend on the number of rows in the imaging array 21, how
including the interface of the present invention;                        ever the actual number of sequential addresses generated by
   FIG. 3 is a block diagram of the pixel imaging array and              the row counter 42 will be determined by the row boundary
acceSS,                                                                  signal B which is controlled by the CPU 10 as will be
   FIG. 4 is a block diagram of the video clock and array                described later. The row clock C is also applied to an output
address generator;                                                  55   43 from the array address generator 22. The row counter 42
   FIG. 5 is a block diagram of a FIFO buffer;                           also generates a frame signal C based on count overflow.
   FIG. 6 is a block diagram of a computer system with bus                  Referring again to FIG. 2, the interface 13 includes a
arbitration utilizing the imaging array sensor,                          memory 44 as well as devices 45 to 49 required to support the
   FIG. 7 is a block diagram of an imaging array sensor that             memory 44. In this particular embodiment, memory 44 is a
includes an interface having bus arbitration circuitry; and         60   first-in first-out (FIFO) buffer memory. FIFO buffer 44
   FIG. 8 is a block diagram of an imaging array sensor that             receives array data D. from the imaging array, clocking sig
includes an interface having an addressable memory.                      nals C. from the video clock generator 14 and clocking sig
                                                                         nals C and C from the array address generator 22. FIFO
    DETAILED DESCRIPTION OF THE INVENTION                                buffer 44 is shown in greater detail in FIG. 5. The imaging
                                                                    65   array 21 output D, row clock C and frame clock C. are
  The imaging computer system illustrated in FIG. 1                      bundled onto a single bus 51 for storage in the buffer 44. The
includes a central processing unit (CPU) 10, other memory                storage components of the FIFO buffer 44 are registers 52
          Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 14 of 19


                                                        US 8,537,242 B2
                                 5                                                                         6
arranged as a shift register series 53. Since the total number of          interrupt signal S, as an interrupt to the CPU 10 allows the
valid outputs may vary due to the differing rates of storage               processor to multi-task. It performs a buffer 44 unload opera
and access, the bus 51 is connected to each register 52. An                tion when the interrupt is asserted, and carries out other
increment/decrement counter 54 is used to count the occur                  programmed tasks at all other times.
rences of FIFO buffer 44 writes and FIFO buffer 44 reads.                     Access to the array registers 49 is controlled by the array
Counter 54 has access to the pixel clock C. and a FIFO read                register command bus, 58. Data is exchanged with the system
signal S. The FIFO counter 54 outputS is applied to buffer                 data bus 15. The content of the registers 49 defines the number
output 55 and to the Register address decoder 56. The decoder              of rows and columns to be employed in the imaging array 21.
uses the counter output S, and pixel clock C in determining                This information is communicated to the array address gen
when to assert the appropriate register write signal on lines         10   erator 22 by the row and column boundary signals B and B.
57. The read signal S is connected to the shift registers 52 to               The above interface 13 signals the CPU 10 through the
shift the registers by a number of registers depending on the              interrupt signal S, when it has an amount of data approaching
read signal S value. The same number of registers, from the                the limits of its storage capacity. The CPU then responds by
end of the buffer, asserts data D, on the system data bus 15               having the data downloaded onto the system bus 15. It is
during this operation.                                                15   important for the CPU to respond to the interface faster then
   There are basically three types of FIFO buffers, each of                the imaging array 21 can generate data. In addition, the size of
which may be used with the present invention. The first type               the FIFO buffer 44 will also depend on the latency of the CPU
of buffer 44 is the one shown in FIG. 5 where stored data is               10, since during the period of time required by the CPU 10 to
removed from buffer register series 53 from the first register             respond to the interrupt signal S, data is being stored in the
52 on the right hand end and data from the bus 51 is written               buffer 44. The faster that the CPU 10 is able to respond to the
into the last available shift register 52 from the left end of the         interrupt and accept the downloaded data, the Smaller the
buffer register series 53. A second type of buffer is one where            buffer 44 can be and the less space that it will require if
the data is written into the first register on the left hand end of        integrated on the die with the imaging array 21. However, in
the buffer register series and data is taken out of the buffer             real time control applications, it is important that the interface
register series from the first register with data in the series       25   13 and the CPU 10 be matched so that the data from all frames
looking at it from the right end of the register series. The third         scanned by the imaging array 21 is properly and completely
type of buffer is one in which data from the data bus is written           transferred to the CPU 10. This requirement may be relaxed
into the last available shift registerlooking from the left end of         Somewhat for camera type applications where the necessity of
the buffer register series and data is taken out of the buffer             capturing all frames is not required.
register series from the first register with data in the series       30      In a further embodiment of the present invention as illus
looking at it from the right end of the register series. In all            trated in FIG. 6, the interface 73 would interact with the CPU
three cases, data is removed from the buffer in the same                   10 and other system components through a bus arbitration
sequence that it is entered into the buffer.                               unit 61. Rather then send an interrupt signal S, to the CPU 10,
   Referring again to FIG. 2, the interface 13 includes devices            the interface 73 sends a bus request signal S to the bus
45 to 49 to support the FIFO buffer 44. The devices include a         35   arbitration unit 61 and receives an arbitration acknowledge
Chip Command Decoder 45, FIFO Configuration Registers                      ment signal S when the bus 15 is available to it for down
46, FIFO Read Control 47, an Interrupt Generator 48 and                    loading data. As illustrated in FIG. 6, the other units, CPU 10
Array Registers 49.                                                        and components 11 in the system have their own arbitration
   The CPU 10 accesses the registers 46 and 49 and FIFO                    request lines 62 and arbitration acknowledgement lines 63.
buffer 44 through the Chip Command Decoder 45 by assert               40   The Bus Arbitration Unit 61 receives all the requests for the
ing the necessary read or write commands, along with the                   bus 15 and selects one unit that is acknowledged as the current
address on the system address and command bus 16. The                      bus master.
command decoder 45 identifies any buffer or register being                    The required components in the interface 73 that are
addressed and asserts the necessary read or write signal on the            required in order for it to be compatible with a bus arbitration
FIFO read control 47 line 56, the FIFO configuration register         45   system are shown in FIG. 7. A Bus Request Generator 64
46 command bus 57, or the array register 49 command bus 58.                functions in the same manner as the Interrupt Generator 48
The signal on line 56 permits the FIFO read control 47 to                  shown in FIG. 2. A bus request signal S is generated in the
generate a FIFO read signal S in response to the output bus                same manner as the interrupt S. If S-2S and the bus request
width signal S. Variation of the FIFO 44 output bus width                  enable signal S is valid, the generator 64 asserts the bus
register provides compatibility with a variety of system bus          50   request signal S to the bus arbitration unit 61.
configurations such as 8-bit or 32-bit.                                       An arbitration acknowledge signal S. notifies the inter
   The FIFO configuration registers 46 include the FIFO out                face 73 that the interface 73 may assert command of the bus
put bus width, the FIFO limit value, the FIFO interrupt mask,              15. The arbitration acknowledge signal S is applied to the
and the FIFO interrupt register. All of these registers are                chip command decoder 45 and a bus command unit 65. The
connected to the system data bus 15 and are read/write                55   arbitration acknowledge signal S. deactivates the command
capable, except the FIFO interrupt register, which is read only            decoder 45 for the duration that the interface controls the bus
and determines its value from the interrupt generator as signal            15. On receiving the arbitration acknowledge signal S, the
S. The reading and writing of these registers is controlled by             bus command unit 65 will activate an output address unit 66
the FIFO register command bus 57. The output of the FIFO                   via the request output address signal S and receive from it
configuration registers include FIFO limit signal S, from the         60   the next address on the output address signal S. This
FIFO limit register, the interrupt enable signal S from the                address is sent out onto the system address and control line
FIFO interrupt mask, and the output bus width signal St.                   16. At the same time the bus command unit 65 asserts the
from the FIFO output bus width register.                                   necessary read or write signal on the FIFO read control 47 line
   The interrupt generator 48 compares the FIFO counter                    67.
output S, and the FIFO limit St. If S-2S and if the interrupt         65      The address may represent a location in the CPU 10, how
enable signal S is valid, the generator 48 asserts the interrupt           ever, one advantage of this arrangement is that the address
signal S, to the CPU 10 via the interrupt bus 17. The use of an            may be to a location in one of the system components 11 Such
         Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 15 of 19


                                                      US 8,537,242 B2
                              7                                                              8
as a memory so that the data may be stored in the system for      transferring  image data  from  the FIFO memory to the
processing by the CPU 10 without the CPU 10 being dis                processor in response to the interrupt signal.
turbed to make the transfer. The output address unit 66 con       2. The method of claim 1, further comprising:
tains a register and increment circuit for the purpose of         generating a FIFO limit signal, the interrupt enable signal,
recording and updating this address. The addresses in the 5          and an output bus width signal.
output address unit 66 are transferred to the address registers   3. The method of claim 1, wherein said transferring image
through bus 15 under the control of a signal from CPU 10 on data comprises transferring image data from the FIFO
the system control and address bus 16 through command memory to the processor in response to receiving a command
decoder 45.                                                     from the processor.
   As stated previously, the imaging array sensor 12 and the 10 4. The method of claim 1, further comprising:
interface may be integrated onto one die. However, in addi        storing the image data in the FIFO memory at a first rate
tion, the Bus Arbitration Unit 61 may also be integrated onto        based on clocking signals associated with the image
the same die, and thus the bus arbitration request and               array; and
acknowledge signals on lines 62 and 63 become external            transferring the image data from the FIFO memory at a
signals of the integrated unit.                                    15        second rate that is faster than the first rate.
   In a further embodiment of the present invention, the                  5. The method of claim 1, further comprising:
memory in the interface 83 may bean addressable memory 81                 storing the image data in the FIFO memory at a first rate
as shown on FIG. 8. For purposes of writing to memory 81                     associated with the image array; and
from the imaging array 21 the row and frame clocks C and                  transferring the image data from the FIFO memory to the
C. serve as row and column addresses. The video system                       processor at a second rate associated with the processor.
clock C. serves as a write clock. Thus the memory 81 records              6. The method of claim 1, further comprising:
the imaging array output D. at the same rate as the imaging               receiving clocking signals associated with the image data;
array 21, and in the same array order as the imaging array 21.            storing the image data and the clocking signals in the FIFO
   For reading purposes, the read control signal S. provides                 memory at a first rate based on the clocking signals; and
the necessary address information, bus width information and       25     transferring the image data and the clocking signals from
read control timing. The memory read control 82 derives this                 the FIFO memory to the processor at a second rate that is
information from the memory configuration registers 84 via                   faster than the first rate.
the output bus width signal S. and from the command                        7. The method of claim 6, wherein the clock signals com
decoder 45 via the read enable and read address bus 16 and              prise at least one video system clock signal, row clock signal,
through line 85. The memory configuration registers 84 are         30   or frame clock signal.
identical to the FIFO configuration registers 46. The memory               8. A method of processing imaging signals, the method
81 also includes an increment/decrement counter similar to              comprising:
counter 54 to interface with the interrupt generator 48. In                receiving image data from an imaging array:
addition, the interface 83 may be adapted for use with a bus               storing the image data in a FIFO memory;
arbitration unit 61 in the same manner that the interface 73 has   35     updating a FIFO counter to maintain a count of the image
been adapted as described in conjunction with FIG. 7.                         data in the FIFO memory in response to memory reads
  Though the use of an addressable memory 81 in interface                    and writes:
83 does not provide the size, simplicity and lower cost of a              comparing the count of the FIFO counter with a FIFO limit;
FIFO memory, the fact that the memory is addressable allows               generating, in response to the count of the FIFO counter
the CPU to select parts or patterns from each frame for pro        40        having a predetermined relationship to the FIFO limit, a
cessing though the memory 81 would normally hold one                         bus request signal to request a bus arbitration unit to
frame which would be refreshed with each scan.                               grant access to an output bus; and
   While the invention has been described according to what               transferring image data from the FIFO memory to the
is presently considered to be the most practical and preferred               output bus in response to receiving a grant signal from
embodiments, it must be understood that the invention is not       45        the bus arbitration unit.
limited to the disclosed embodiments. Those ordinarily                    9. The method of claim 8, further comprising:
skilled in the art will understand that various modifications             generating a FIFO limit signal and an output bus width
and equivalent structures and functions may be made without                  signal.
departing from the spirit and scope of the invention as defined           10. The method of claim 8, further comprising:
in the claims. Therefore, the invention as defined in the claims   50     storing the image data in the FIFO memory at a first rate
must be accorded the broadest possible interpretation so as to               based on clocking signals associated with the image
encompass all such modifications and equivalent structures                   array; and
and functions.                                                            transferring the image data from the FIFO memory at a
  What is claimed is:                                                        second rate that is faster than the first rate.
  1. A method of processing imaging signals, the method            55     11. The method of claim 8, further comprising:
comprising:                                                               storing the image data in the FIFO memory at a first rate
  receiving image data from an imaging array:                                associated with the image array; and
  storing the image data in a FIFO memory;                                transferring the image data from the FIFO memory to a
  updating a FIFO counter to maintain a count of the image                   processing system at a second rate associated with the
     data in the FIFO memory in response to memory reads           60        processing System.
     and writes:                                                          12. The method of claim 8, further comprising:
  comparing the count of the FIFO counter with a FIFO limit;              receiving clocking signals associated with the image data;
  generating an interrupt signal to request a processor to                storing the image data and the clocking signals in the FIFO
    transfer image data from the FIFO memory in response                     memory at a first rate based on the clocking signals; and
    to an interrupt enable signal being valid and the count of     65     transferring the image data and the clocking signals from
    the FIFO counter having a predetermined relationship to                  the FIFO memory to a processing systemata second rate
     the FIFO limit; and                                                     that is faster than the first rate.
           Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 16 of 19


                                                    US 8,537,242 B2
                               9                                                                  10
   13. The method of claim 8, wherein the clock signals               19. The method of claim 18, further comprising:
comprise at least one video system clock signal, row clock            comparing the count of the FIFO counter with a FIFO limit:
signal, or frame clock signal.                                        sending an interrupt signal to a processor in response to an
   14. A method of processing imaging signals, the method                interrupt enable signal being valid and the count of the
comprising:                                                              FIFO counter having a predetermined relationship to the
   receiving, from an imaging array, image data and clocking             FIFO limit; and
      signals associated with the image data;                         transferring image data and associated clocking signals
   storing the image data and the associated clocking signals            from the memory to the processor in response to receiv
      in a memory at a rate based on the associated clocking             ing a command from the processor.
      signals, wherein the associated clocking signals com       10
                                                                      20. The method of claim 18, further comprising:
     prise at least one video system clock signal, row clock          comparing the count of the FIFO counter with a FIFO limit:
      signal, or frame clock signal;                                  sending a bus request signal to a bus arbitration unit in
   generating a request to transfer image data and associated            response to the count of the FIFO counter having a
      clocking signals from the memory in response to a pre              predetermined relationship to the FIFO limit; and
     determined amount of data being stored in the memory;       15
                                                                      transferring image data and associated clocking signals
     and
   transferring image data and associated clocking signals               from the memory to an output bus in response to receiv
      from the memory in response to the request.                        ing a grant signal from the bus arbitration unit.
   15. The method of claim 14, wherein said generating a              21. The method of claim 14, further comprising:
request comprises generating an interrupt signal that requests        transferring the image data and associated clocking signals
a processor to download image data and associated clocking               from the memory at a second rate that is faster than the
signals from the memory.                                                 rate of said storing.
   16. The method of claim 14, wherein the memory is a FIFO           22. The method of claim 14, further comprising:
memory.                                                               transferring the image data and associated clocking signals
  17. The method of claim 16, further comprising:                25
                                                                         from the memory to a processing system at a second rate
  generating a FIFO limit signal, an interrupt enable signal,            associated with the processing system.
    and an output bus width signal.                                   23. The method of claim 14, further comprising:
  18. The method of claim 16, further comprising:                     transferring the image data and the associated clocking
  updating a FIFO counter to maintain a count of data in the             signals from the memory to a processing system at a
     FIFO memory in response to FIFO memory reads and                    second rate that is faster than the rate of said storing.
     writes.
                 Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 17 of 19

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                      CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,537,242 B2                                                                                      Page 1 of 3
APPLICATIONNO.              : 1 1/259791
DATED                       : September 17, 2013
INVENTOR(S)                 : Suska

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         The title page showing the illustrative figure should be deleted to be replaced with the attached title
         page.


         In the Drawings
         Drawing sheet, consisting of Fig. 7, should be deleted to be replace with the drawing sheet, consisting
         of Fig. 7, as shown on the attached pages.

         In the Specification
         In Column 6. Line 15, delete “faster then and insert -- faster than --, therefor.

         In Column 6, Line 33, delete “Rather then and inert -- Rather than --, therefor.




                                                                                       Signed and Sealed this
                                                                                      Third Day of June, 2014
                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                           Deputy Director of the United States Patent and Trademark Office
             Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 18 of 19

CERTIFICATE OF CORRECTION (continued)                                                                                                             Page 2 of 3


      (12) United States Patent                                                  (10) Patent No.:     US 8,537,242 B2
             Suska                                                               (45. Date of Patent:    *Sep. 17, 2013
      (54)   HOST INTERFACE FOR MAGING ARRAS                                (56)                    References Cited

      (75) Inventor; Mark Suska, Ottawa (CA)                                                 U.S. PATENT DOCUMENTS
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                     Wilmington, DE (US)                                                               (Continued)
      (*) Notice:        Subject to any disclaimer, the term of this                     FOREIGN PATENT DOCUMENTS
                         patent is extended or adjusted under 35            EP             O92302 A2    f1999
                         U.S.C. 154(b) by 1584 days.                        JP                3-2943           1988
                         This patent is subject to a terminal dis                                      (Continued)
                         claimer.                                                           OTHER PURLICATIONS
      (21) Appl. No. 111259,791                                             Omnivision: "OW511 Advanced Camera to USB Bridge, Data. Sheet
                                                                            Rev. f.O.", Jul. 7, 1998, Orunivisiou Technologies, XPO02293773,
      (22) Filed:        Oct. 27, 2005                                      p, 6-14 tables 9-11, figures 1-4, 6,10,12,
      (65)                  Prior Puhisation Data                                                 (Continued)
             US 2006O)44435 A.           Mar. 2, 2006                       Primary Examiner - Trung Diep
                                                                            (74) Attorney, Agent, or Firm - McAndrews, Held &
                                                                            Malloy, Ltd,
                     Related U.S. Application Data                          (57)                       ABSTRACT
      (62) Division of application No. 09742,723, filed on Dec.             An interface for receiving data from an image sensor having
           21, 2000, now Pat. No. 6,972,790.                                an imaging array and a clock generator and for transferring
      (60) Provisional application No. 60177,496, filed on Jan.             the data to a processor system is described. The interface
           21, 2000.                                                        comprises a memory for storing the imaging array data and
                                                                            the clocking signals at a rate determined by the clocking
      (51) Int. C.                                                          signals. In response to the quantity of data in the memory, a
              NW                     (2006.01)                              signal generator generates a signal for transmission to the
              N5                     (2006.0)                               processor system and a circuit controls the transfer of the data
             HN35                    (2006.01)                              from the memory at a rate determined by the processor sys
      (52)   U.S., C.                                                       tem. The memory may be a first-in first-out (FIFO) buffer or
           USPC ................, 348,231.1; 348.222.1348.1230.             an addressable memory. The interface is preferably integrated
                                                                            on the same die as the timage sensor. The signal generator may
      (58) Field of Cassification Search                                    generate either an interrupt signal for transmission to the
           USPC ..............., 348724), 294,302,307, 308, 31,             processor system or a bus request signal for transmission to a
                       348/207.1, 33305, 222.1,231.3,231.99,                bus arbitration unit for the processor system.
                                           348/312,317, 203, 246
             See application file for complete search history.                             23 Clains, 8 Drawing Sheets

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         Case 6:22-cv-01120-ADA Document 1-2 Filed 10/26/22 Page 19 of 19


CERTIFICATE OF CORRECTION (continued)                                               Page 3 of 3
U.S. Patent                  Sep. 17, 2013            Sheet 7 of 8         8,537,242 B2



                      12-                               N


                                                             S
                                                       84        c   55

                     ARRAY                              BUS REQUEST       17 - S,
          B, ADDRESS
          research                                      GENERAOR
                     GENERATOR



                                                      CONFIGURAON
                                                      REGISTERS
                                   ADDRESS                                   15
                                   UNT       :                       46




                                                 8.
                        COMMAN                   B     ARRAY


                                                                     49




                                   FIGURE 7
